        Case 2:18-cv-01382-GEKP Document 30 Filed 10/19/18 Page 1 of 1



                       IN THE UNITED ST ATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA



ANDREW PERRONG                                                CIVIL ACTION

                       Plaintiff,
               v.

MACY'S INC., et al.
                                                                                    FILED
                                                              NO. 18-1382           Ot.: I 19 2018
                       Defendants.                                                KATE BARKMAN, Clerk
                                                                                BY.          pep. Clerk
                                            ORDER

       AND NOW, this 19th day of October, 2018, upon consideration of the parties'

Stipulation of Dismissal (Doc. No. 29), it is ORDERED as follows:

       I. Plaintiffs putative class claims 1 are DISMISSED WITHOUT PREJUDICE, as if

           they had been voluntarily withdrawn by the named plaintiff, with costs and fees to be

           borne as incurred;

       2. Plaintiffs individual claims shall be HELD IN ABEYANCE, pending the Court's

           receipt of a fully executed copy of the settlement agreement.




        This litigation was initially styled as a class action. No motion for class certification has
been filed, and, not surprisingly, no class has been certified. The Court understands that the
parties have not presumed to try to settle any issue on behalf of any person other than the
individual named plaintiff, Andrew Perrong. Hence, the terms of this Order.
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